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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


  CELGENE CORPORATION,

              Plaintiff,

        v.

  HETERO LABS LIMITED, HETERO
  LABS LIMITED UNIT-V, HETERO
  DRUGS LIMITED, HETERO USA, INC.,              C.A. No. 17-3387 (ES)(MAH)
  AUROBINDO PHARMA LIMITED,
  AUROBINDO PHARMA USA, INC.,                   CONSOLIDATED
  AUROLIFE PHARMA LLC, EUGIA
  PHARMA SPECIALTIES LIMITED,
  APOTEX INC., APOTEX CORP., MYLAN
  PHARMACEUTICALS, INC., MYLAN
  INC., MYLAN, N.V., BRECKENRIDGE
  PHARMACEUTICAL, INC., and TEVA
  PHARMACEUTICALS USA, INC.

              Defendants.


   DEFENDANTS’ SUPPLEMENTAL RESPONSIVE CLAIM CONSTRUCTION BRIEF
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                             TABLE OF ABBREVIATIONS

      Abbreviation                                    Meaning

   ’262 FH            Prosecution history of the ’262 patent (ECF No. 250, Murray
                      Declaration Exhibit A, filed November 15, 2018)
   ’262 patent        U.S. Patent No. 8,198,262 B2 (ECF No. 1, Exhibit A, filed May 11,
                      2017)
   ’427 FH            Prosecution history of the ’427 patent (ECF No. 250, Murray
                      Declaration Exhibit D, filed November 15, 2018)
   ’427 patent        U.S. Patent No. 8,828,427 B2 (ECF No. 1, Exhibit D, filed May 11,
                      2017)
   ’428 FH            Prosecution history of the ’428 patent (ECF No. 250, Murray Decl.
                      Exhibit C, filed November 15, 2018)
   ’428 patent        U.S. Patent No. 8,735,428 B2 (ECF No. 1, Exhibit C, filed May 11,
                      2017)
   ’467 FH            Prosecution history of the ’467 patent (ECF No. 355, Walsh Decl.
                      Exhibit M, filed May 29, 2019)
   ’467 patent        U.S. Patent No. 9,993,467 (ECF No. 355, Walsh Decl. Exhibit L, filed
                      May 29, 2019)
   ’939 FH            Prosecution history of the ’939 patent (ECF No. 1, Exhibit B, filed
                      May 11, 2017)
   ’939 patent        U.S. Patent No. 8,673,939 B2 (ECF No. 1, Exhibit B, filed May 11,
                      2017)
   9/11/19 Shrestha   September 11, 2019 Declaration of Roshan P. Shrestha, Ph.D.,
   Decl.              submitted concurrently herewith

   AJCCS              Amended Joint Claim Construction and Prehearing Statement (ECF
                      No. 348, filed May 17, 2019)

   API                Active Pharmaceutical Ingredient
   Apotex             Defendants Apotex Inc. and Apotex Corp.

   Apotex’s Suppl.    Apotex, Breckenridge, and Hetero’s Supplemental Opening Markman
   Opening Br.        Brief (ECF No. 350, filed May 29, 2019)

   Aurobindo          Defendants Aurobindo Pharma Limited, Aurobindo Pharma USA, Inc.,
                      Aurolife Pharma LLC, and Eugia Pharma Specialties Limited
   Breckenridge       Defendant Breckenridge Pharmaceutical, Inc.
   Celgene            Plaintiff Celgene Corporation

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      Abbreviation                                      Meaning

   Defendants             Defendants Apotex, Aurobindo, Breckenridge, Hetero, the Mylan
                          Defendants, and Teva
   Defs.’ Opening Br.     Defendants’ Opening Markman Brief (ECF No. 250, filed Nov. 15,
                          2018)
   Dr. Macfarlane         Defendants’ expert, Donald E. Macfarlane, M.B., B.S., Ph.D.

   Formulation Patents    The ’427 and ’467 patents.

   Hetero                 Defendants Hetero Labs Limited, Hetero Labs Limited Unit-V, Hetero
                          Drugs Limited, and Hetero USA, Inc.

   JCCS                   Joint Claim Construction and Prehearing Statement (ECF No. 211,
                          filed Aug. 29, 2018)

   Macfarlane Decl.       Declaration of Donald E. Macfarlane, M.B., B.S., Ph.D., submitted
                          concurrently herewith

   Macfarlane Tr.         Transcript of the August 23, 2019 deposition of Donald E. Macfarlane,
                          M.B., B.S., Ph.D.

   MM                     Multiple myeloma

   MOT Patents            The ’262, ’939, and ’428 method of treatment patents.

   Mylan Defendants       Mylan Pharmaceuticals Inc., Mylan Inc., and Mylan N.V.

   Park Opening Decl.     Declaration of Kinam Park, Ph.D. (ECF No. 250-32, filed Nov. 15,
                          2018)

   Park Suppl. Decl.      Supplemental Declaration of Kinam Park, Ph.D. (ECF No. 353, filed
                          May 29, 2019)

   Park Tr.               Deposition Transcript of Kinam Park, Ph.D. (June 7, 2019) (attached
                          hereto as Exhibit A)

   Pl.’s Opening Br.      Plaintiff Celgene’s Opening Markman Brief (ECF No. 251, filed Nov.
                          15, 2018)

   Pl.’s Suppl. Opening   Plaintiff Celgene’s Supplemental Opening Markman Brief (ECF No.
   Br.                    349, filed May 29, 2019)

   Pl.’s Responsive Br.   Plaintiff Celgene’s Responsive Markman Brief (ECF No. 384, filed
                          July 15, 2019)

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      Abbreviation                                     Meaning

   Mylan Defendants’    Mylan Defendants’ Supplemental Opening Markman Brief (ECF No.
   Suppl. Opening Br.   354, filed May 29, 2019)

   POSA or skilled      Person of Ordinary Skill in the Art
   artisan

   Teva                 Defendant Teva Pharmaceuticals USA, Inc.

   Teva and             Teva and Aurobindo’s Supplemental Opening Markman Brief (ECF
   Aurobindo’s Suppl.   No. 351, filed May 29, 2019)
   Opening Br.

   The Parties          Plaintiff Celgene and Defendants Apotex, Aurobindo, Breckenridge,
                        Hetero, the Mylan Defendants, and Teva




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         Defendants respectfully submit this supplemental responsive claim construction brief to

  address the deposition of Defendants’ expert, Dr. Donald E. Macfarlane.

  I.     INTRODUCTION

         At his deposition, Dr. Macfarlane confirmed the opinions he set forth in his declaration

  (ECF No. 386-1) were narrow and limited to two indisputable facts in this case:            (1) the

  specification of the MOT patents contain zero clinical efficacy data for pomalidomide; and (2)

  clinical data in the prescribing information for Pomalyst® demonstrates pomalidomide does not

  effectively treat multiple myeloma (“MM”) in the vast majority of patients to whom it is

  administered. Defendants rely on these facts to rebut Plaintiff Celgene’s contention that efficacy

  is a “fundamental or essential feature of the invention” claimed in the MOT patents, which Celgene

  relies upon to support its argument that the preambles of the asserted claims in the MOT patents

  are limiting. ECF No. 251, Celgene’s Opening Br. at 10.

         Rather than questioning Dr. Macfarlane on the simple, straight-forward opinions he offered

  in his declaration, Celgene’s questions focused on matters outside the scope of his declaration.1

  Dr. Macfarlane testified that his only opinions are set forth in his declaration and confirmed that

  he does not offer any specific opinions regarding how a skilled artisan would understand any claim

  term in dispute; indeed, he testified that he did not even review the claims of the MOT patents.

  Macfarlane Tr.100:8-101:9; id. at 124:11-20 (A: “I don’t have opinions about the claims.”).

         Defendants herein address those portions of Dr. Macfarlane’s deposition testimony

  relevant to the Parties’ arguments concerning the preamble of the asserted MOT patent claims.



  1
   Many of Celgene’s improper questions focused on the merits of the parties’ claims and defenses—
  issues on which Dr. Macfarlane has not opined. See, e.g., 9/11/19 Schrestha Decl. Ex. A,
  Macfarlane Tr. (“Macfarlane Tr.”) 105:11-21 (discussion of whether “in vitro studies” support
  efficacy in the “management” of MM); see also, generally, ECF No. 386-1, Macfarlane Decl. (no
  discussion of in vitro studies or “management” of MM).
                                                  1
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  II.    DEFENDANTS’ SUPPLEMENTAL RESPONSIVE ARGUMENT

         A.      Dr. Macfarlane’s Opinions Remain Undisputed

         During Dr. Macfarlane’s deposition, Celgene never challenged the specific opinions he

  offered in this case. Celgene never asked Dr. Macfarlane any questions, and never presented him

  with any evidence, to try to undermine those opinions. Thus, those opinions remain undisputed

  and Defendants respectfully submit the Court should therefore credit them. The facts established

  by Dr. Macfarlane’s undisputed opinions wholly undermine Celgene’s assertion that efficacy is a

  “fundamental or essential feature of the invention” (ECF No. 251, Celgene’s Opening Br. at 10).

         Dr. Macfarlane was questioned about whether clinical efficacy can be shown with

  measurement of M protein levels, known as “SWOG” Criteria. Macfarlane Tr. at 38:12–42:15.

  Although SWOG Criteria are referred to in Example 6.5.1 of the MOT patents (’262 patent at

  33:1–20), there are no results or data reflecting measurement of these critieria. Simply put, there

  is no clinical data in the specification indicating efficacy, and Dr. Macfarlane’s opinion on this

  point remains undisputed.

         B.      Defendants Are Not Arguing that Clinical Data Must Be Included in a Patent
                 Specification

         Celgene’s counsel posed many misguided questions to Dr. Macfarlane, indicating that

  either Celgene is confused about what the lack of clinical data in the MOT patent specifications

  means to its position on the preamble, or Celgene is intentionally trying to obfuscate Defendants’

  clearly supported assertion that efficacy is not a “fundamental or essential feature of the invention.”

  See, e.g., Id. at 107:16-109:19. Specifically, Defendants are not contending the MOT patents must

  be supported by human clinical efficacy data in the specification. However, it is indisputable that

  brand companies do commonly support their method of treatment patents with clinical efficacy

  data. Here, Defendants assert only that if efficacy were legitimately a “fundamental and essential

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  feature of the invention,” as Celgene argues for the MOT patents, then Celgene would have drafted

  its claims to require such efficacy.

            C.     Dr. Macfarlane’s Testimony Exposes Flaws in Celgene’s Construction

            Celgene contends the preamble of the asserted MOT patent claims “limits the claims by

  requiring efficacy in the MM patients receiving pomalidomide,” and that “treating” means

  “efficaciously treating” or “successfully treating.” ECF No. 251, Celgene’s Opening Br. at 5, 12.

  But, as Dr. Macfarlane explained, Celgene’s own clinical trial data in the prescribing information

  demonstrates pomalidomide is not effectively treating MM in the majority of patients. Macfarlane

  Tr. At 129:4-130:13. Thus, under Celgene’s proposal, pomalidomide is not “efficaciously” or

  “successfully treating” MM in most patients.

            Moreover, as Dr. Macfarlane explained, it is sometimes unclear whether pomalidomide is

  effective in treating MM in any individual patient (as opposed to patients in a controlled clinical

  trial).2 Id. at 40:18-42:1. Accordingly, if this Court adopts Celgene’s proposal, then the claims

  would fail to inform, with reasonable certainty, the scope of the alleged invention. See 35 U.S.C.

  § 112, ¶ 2 (pre-AIA); Teva Pharm. USA, Inc. v. Sandoz, Inc., 789 F.3d 1335, 1345 (Fed. Cir.

  2015).3

  III.      CONCLUSION

            Defendants respectfully request that the Court find that the preambles of the asserted MOT

  patent claims are not limiting; or, if they are limiting, that the preambles do not require efficacy.

      September 11, 2019                                Respectfully submitted,


  2
    The FDA’s efficacy criteria is not necessarily the same criteria to be used to determine if
  treatment meets the claim limitations. See, e.g., Adams Respiratory Therapeutics, Inc. v. Perrigo
  Co., 616 F.3d 1283, 1287 (Fed. Cir. 2010) (affirming construction of “bioequivalent,” which did
  not require “meeting all of the… FDA’s bioequivalence guidelines” to show infringement).
  3
    If the Court does find the preamble a limition requiring efficacy, Defendants may seek leave to
  amend their invalidity contentions to include this indefiniteness defense. See L.Pat.R. 3.7(a).
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                                            /s/ Melissa E. Flax
                                            Melissa E. Flax
                                            Michael Cross
                                            CARELLA, BYRNE, CECCHI, OLSTEIN,
                                              BRODY & AGNELLO, P.C.
                                            5 Becker Farm Road
                                            Roseland, NJ 07068
                                            973-994-1700
                                            MFlax@carellabyrne.com
                                            Mcross@carellabyrne.com

                                            Andrew M. Alul
                                            Richard T. Ruzich
                                            Stephen R. Auten
                                            Brian P. Murray
                                            Roshan P. Shrestha, Ph.D.
                                            TAFT STETTINIUS & HOLLISTER LLP
                                            111 East Wacker Drive
                                            Suite 2800
                                            Chicago, IL 60601
                                            312-527-4000
                                            aalul@taftlaw.com
                                            rruzich@taftlaw.com
                                            sauten@taftlaw.com
                                            bmurray@taftlaw.com
                                            rshrestha@taftlaw.com

                                            Attorneys for Defendants
                                            Apotex Inc. and Apotex Corp.




                                            /s/ Liza M. Walsh
                                            Liza M. Walsh
                                            Christine I. Gannon
                                            Eleonore Ofosu-Antwi
                                            WALSH PIZZI O’REILLY FALANGA LLP
                                            Three Gateway Center
                                            100 Mulberry Street
                                            15th Floor
                                            Newark, NJ 07102
                                            Tel.: (973) 757-1100




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                                            Of Counsel:

                                            Jay P. Lefkowitz
                                            Jeanna M. Wacker
                                            Christopher T. Jagoe
                                            Jeffrey Coleman
                                            Mark C. McLennan
                                            Ashley Cade
                                            KIRKLAND & ELLIS LLP
                                            601 Lexington Avenue New York, NY 10022
                                            Tel.: (212) 446-4800
                                            lefkowitz@kirkland.com
                                            jeanna.wacker@kirkland.com

                                            Kristen P.L. Reichenbach
                                            KIRKLAND & ELLIS LLP
                                            555 California Street
                                            San Francisco, CA 94104
                                            Tel.: (415) 439-1400
                                            kristen.reichenbach@kirkland.com

                                            Attorneys for Defendant
                                            Teva Pharmaceuticals USA, Inc.


                                            /s/ Gurpreet Singh Walia, M.D.
                                            Gurpreet Singh Walia, M.D.
                                            Gongjun (Gary) Ji (pro hac vice)
                                            FisherBroyles, LLP
                                            445 Park Avenue, Ninth Floor
                                            New York, NY 10022
                                            (516) 996-1100
                                            gurpreet.walia@fisherbroyles.com
                                            gary.ji@fisherbroyles.com

                                            Joseph Schramm, III
                                            FisherBroyles, LLP
                                            100 Overlook Center, Second Floor
                                            Princeton, NJ 08540
                                             (856) 733-0220
                                            joseph.schramm@fisherbroyles.com

                                            Gregory D. Miller
                                            Jenna Z. Gabay
                                            RIVKIN RADLER LLP
                                            21 Main Street, Suite 158

                                        5
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                                            Court Plaza South- West Wing
                                            Hackensack, NJ 07601
                                            (201) 287-2460
                                            gregory.miller@rivkin.com

                                            Attorneys for Defendants
                                            Aurobindo Pharma Limited, Aurobindo
                                            Pharma USA, Inc., Aurolife Pharma LLC, and
                                            Eugia Pharma Specialties Limited


                                            /s/ Eric I. Abraham
                                            Eric I. Abraham
                                            HILL WALLACK, LLP
                                            21 Roszel Road, P.O. Box 5226
                                            Princeton, NJ 08543-5226
                                            (609) 734-6395
                                            eabraham@hillwallack.com

                                            Of Counsel:

                                            Neal Seth
                                            Wesley E. Weeks
                                            WILEY REIN LLP
                                            1776 K Street N.W.
                                            Washington, DC 20006
                                            (202) 719-7000
                                            nseth@wileyrein.com
                                            wweeks@wileyrein.com

                                            Attorneys for Defendants Hetero Labs Limited,
                                            Hetero Labs Limited Unit-V, Hetero Drugs
                                            Limited, and Hetero USA, Inc.


                                            /s/ Robert J. Fettweis
                                            Robert J. Fettweis
                                            Fleming Ruvoldt PLLC
                                            250 Moonachie Road
                                            Moonachie, NJ 07074
                                            (201) 518-7878
                                            rfettweis@flemingruvoldt.com

                                            C. Kyle Musgrove (admitted pro hac vice)
                                            John W. Bateman (admitted pro hac vice)
                                            Yifang Zhao (admitted pro hac vice)

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                                            HAYNES AND BOONE, LLP
                                            800 17th Street, Suite 500
                                            Washington, DC 20006-3962
                                            (202) 654-4500
                                            kyle.musgrove@haynesboone.com
                                            john.bateman@haynesboone.com
                                            eva.zhao@haynesboone.com

                                            Attorneys for Defendant
                                            Breckenridge Pharmaceutical, Inc.


                                            /s/ Arnold B. Calmann
                                            Arnold B. Calmann (ACalmann@saiber.com)
                                            Jakob B. Halpern (JHalpern@saiber.com)
                                            Monvan Hu (MHu@saiber.com)
                                            SAIBER LLC
                                            One Gateway Center, Suite 1000
                                            Newark, New Jersey 07102
                                            Telephone: (973) 622-3333

                                            Tung-On Kong (tkong@wsgr.com)
                                            Kristina Hanson (thanson@wsgr.com)
                                            WILSON SONSINI GOODRICH & ROSATI P.C.
                                            One Market Street
                                            Spear Tower, Suite 3300
                                            San Francisco, CA 94105
                                            Telephone: (415) 947-2000

                                            Elham Firouzi Steiner (esteiner@wsgr.com)
                                            Nathan Scharn (nscharn@wsgr.com)
                                            Sarah Siedlak (ssiedlak@wsgr.com)
                                            WILSON SONSINI GOODRICH & ROSATI P.C.
                                            12235 El Camino Real
                                            San Diego, California 92130
                                            Telephone: (858) 350-2300

                                            Attorneys for Defendants Mylan N.V.,
                                            Mylan Inc., and Mylan Pharmaceuticals Inc.




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                                   CERTIFICATE OF SERVICE

         The undersigned certifies that, on September 11, 2019, a true and accurate copy of

  DEFENDANTS’ SUPPLEMENTAL RESPONSIVE CLAIM CONSTRUCTION BRIEF was

  served on all counsel of record for Plaintiff via the Court’s electronic filing system with a courtesy

  copy to all counsel of record by email.

   Dated: September 11, 2019                            CARLLA, BYRNE, CECHI,
                                                        OLSTEIN, BRODY & AGNELLO, P.C.

                                                        By: _/s/ Melissa E. Flax___________
                                                            Melissa E. Flax
                                                            Michael Cross




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